             Case 5:17-mj-00443-DUTY Document 3 Filed 11/30/17 Page 1 of 2 Page ID #:132


     AO 93 (Rev. 12/09) Search and Seizure Warrant (USAO CDCA Rev. 01/2013)
                                                                                                                       QR1GlNAL
                                           UNITED STATES DISTRICT COURT
                                                                         for the                                          ~ ». ~~.,
                                                               Central District of California                                  ~    ~,
                                                                                                                                 T,,,,
                                                                                                                              7~r'-~      O
                                                                                                                              --z~-v>     C
                        In the Matter of the Search of                                                                        ~~~         w    ..w.
                   Briefly describe the property to be searched
                   or identify the person by name and address)                       Case No. rj:~ "~ - rv1 1- ~{4'          ~v           ?~
                                                                                 ~                         J                  ~y          3
       Digital Device provided by Microsoft Corporation on
                                                                                                                                    c~
    September 25, 2014, containing information associated with
        the account identified as ulisesgr80@hotmail.com:                                                                                 O
            A DVD labeled N-35 in file no. RP-13-0117                                                                               --s
                                                 SEARCH AND SEIZURE WARRANT
     To:       Any authorized law enforcement officer

              An application by a federal law enforcement officer or an attorney for the government requests the search
     of the following person or property located in the         Central           District of           California
    (identify the person or describe the property to be searched and give its location):
          See Attachment A

               The person or property to be searched, described above, is believed to conceal (idenrify the person or ~ies~r~be the
     property to be seized):
           See Attachment B


             I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
     property. Such affidavits) or testimony are incorporated herein by reference and attached hereto.

               YOU ARE COMMANDED to execute this warrant on or before                                14 days from the date of its issuance
                                                                                                                 (not to exceed 1a days)
               in the daytime 6:00 a.m. to 10 p.m.                ~ at any time in the day or night as I find reasonable cause has been
                                                                    established.

             Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
     taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
     place where the property was taken.
              The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
     inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
     on duty at the time of the return through a filing with the Clerk's Office.
                                     (name)

           ~ I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
     of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
     searched or seized (check the appropriate box)        Q for                days (not to exceed 30).

                                                           ~ unril, the facts justifying, the later specific date of


     Date and time issued:          I~     ~' ~ ~           I ~ ~'~                         l~~                 ge's signature


     City and state:       Riverside, California                                           Honorable Kenly Kiya Kato, U.S. Magistrate Judge
                                                                                                           Printed name and title



AUSA: Tritia L. Yuen (951-276-6222)
           Case 5:17-mj-00443-DUTY Document 3 Filed 11/30/17 Page 2 of 2 Page ID #:133

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      AO 93 (Rev. 12/09) Search and Sei=ure Warrattt(Page ?)

                                                                    Return

        ase No.: ~                          Date and time warrant executed:        Copy     warrant and inventory left with:
           or                                / D (~             ~~" J ~ a

     Inventory m~de in the presence of
                    e.~ 1 ~!~ 1 V( ✓1
     Inventory ofthe property taken and name ofany persons)seized:
     [Please provide a description that would be sufficient to demonstrate that the items seized fall within the items authorized to be
     seized pursuant to the warrant(e.g., type of documents, as opposed to "miscellaneous documents") as well as the approximate
     volume of any documents seized (e.g., number of boxes). If reference is made to an attached description of property, specify the
      number of pages to the attachment and any case number appearing thereon.]


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        ~~ S~ ASS                       ~~^~` ~~`~~ ~ ~
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                                                                 Certi tcation b offrcer resent durin the execution of the warrant


     I declare under penalty ofperjury thatIam an officer who executed this warrant and that this inventory is correct and
     was returned along with the original warrant to the designatedjudge through afiling with the Clerk's Office.




     Date:          0
                                                                                          Execut' g officer's signature ~


                                                                    ~~_ 2 ~~,-~ ~, .~        Printed name and title
                                                                                                                                    --



AUSA: Tritia L. Yuen (951-276-6222)
